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                           UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION


UNITED STATES OF AMERICA,

               Plaintiff,                                     Case No. 1:07-CR-121

v.                                                            Hon. ROBERT HOLMES BELL

DAVID SCOTT SAFFELL,

               Defendant.

______________________________________/

                                  ORDER REVOKING BOND

               Defendant is currently on bond pending trial on a counterfeiting charge. The

government has filed a Motion for Revocation of Bond (docket no. 47) pursuant to 18 U.S.C. §

3148, which has been referred to the undersigned for disposition.

               Based on the testimony at the hearing on this motion held this date, the court finds

the defendant was released on bond on May 29, 2007, and subsequently consumed

methamphetamine and marijuana. He also failed to report to his Pretrial Services officer as directed.

Based on these facts, the court finds that there is clear and convincing evidence that the defendant

has violated conditions of his bond. 18 U.S.C. § 3148(b)(1)(B).

               The court also finds that following the issuance of an arrest warrant for the defendant,

the defendant failed to report to the Pretrial Services officer as directed on July 2, 2007, and

thereafter avoided the Pretrial Services officer supervising the defendant. The officer was

subsequently able to have telephonic contact with the defendant on Thursday, July 5, 2007, when

defendant was instructed to report that afternoon or no later than 8:00 a.m. the following morning.

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Defendant told the officer that he would not report before the following Monday, and that if the U.S.

Marshals could catch him before that time, they could arrest him.          The Marshals arrested the

defendant at 5:00 a.m. on July 6, 2007, as he was exiting the back door of a residence where he was

staying, apparently attempting to avoid them. The court further finds that while defendant may have

a drug abuse problem, on June 1, 2007 he refused substance abuse treatment.

               The continuing use of drugs commencing immediately upon being released on bond,

the disregard of his reporting obligations and his disregard for a federal arrest warrant, lead this

court to find that it is unlikely he will abide by any condition or combination of conditions of release

this court could impose. Accordingly, the motion for revocation of bond (docket no. 47) is

GRANTED and defendant will be ordered detained pending trial in this matter. The defendant is

committed to the custody of the Attorney General or his designated representative for confinement

in a corrections facility separate, to the extent practicable, from persons serving sentences or being

held in custody pending appeal. The defendant shall be afforded a reasonable opportunity for

private consultation with his defense counsel. On order of a court of the United States or on request

of an attorney for the government, the person in charge of the corrections facility shall deliver the

defendant to the United States marshal for the purpose of an appearance in connection with a court

proceeding.

               IT IS SO ORDERED.



Entered: July 11, 2007                         /s/ Hugh W. Brenneman, Jr.
                                               HUGH W. BRENNEMAN, JR.
                                               United States Magistrate Judge




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